     Case 21-16520              Doc 3-1 Filed 08/15/21 Entered 08/15/21 19:33:45         Desc
                                 Certification of Professional Page 1 of 4



  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP
  Edmond M. George, Esquire
  Michael D. Vagnoni, Esquire
  (pro hac vice pending)
  Turner Falk, Esquire
  1120 Route 73, Suite 420
  Mount Laurel, NJ 08054-5108
  Telephone: (856) 795-3300
  Facsimile: (856) 482-0504
  E-mail: edmond.george@obermayer.com
            michael.vagnoni@obermayer.com
            turner.falk@obermayer.com

  Proposed Counsel to the Debtor
  and Debtor in Possession

  In re:                                                        Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                      Case No. 21- _______ - (    )

                                    Debtor.


                         CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                         APPLICATION FOR RETENTION OF PROFESSIONAL

 I, Lorie Beers, being of full age, certify as follows:

         1.      I am seeking authorization for                                        to be
         retained as Investment Banker.


        2.        My professional credentials include: I have 28 years of professional experience
        that encompasses the full spectrum of restructuring. Previously, I held positions including
        Managing Director and Head of Restructuring, and served in a senior level capacity at
        several investment firms. Most recently, I was the recipient of the 2019 M&A Advisor
        Leadership Award. I began my career as a bankruptcy attorney and have also served as
        Chief Restructuring Officer and Chief Operating Officer for a middle market marketing
        and branding organization. I have a BA from Dickinson College and a J.D .from the
        University of Pittsburgh School of Law.


OMC\4830-8418-2516.v1-8/10/21                      1
     Case 21-16520              Doc 3-1 Filed 08/15/21 Entered 08/15/21 19:33:45            Desc
                                 Certification of Professional Page 2 of 4




         3.       I am the Managing Director and Head, Special Situations & Restructuring of the
         firm of Cowen and Company, LLC.


         4.       The proposed arrangement for compensation, including hourly rates, if applicable,
         is as follows:
                  Compensation will be paid based on a monthly flat fee of $75,000.00, and

         reimbursement for all actual out-of-pocket expenses incurred in connection with this

         engagement, as approved by the Court upon application. Additional fees will be payable

         upon the closing of a Financing, the consummation of a Restructuring, and/or the

         consummation of any Sale, as approved by the Court upon application.

              Pursuant to D.N.J. LBR 2014-3, I request a waiver of the requirements of D.N.J. LBR
                  2016-1.

         5.       To the best of my knowledge, after reasonable and diligent investigation, my
         connection with the debtor,                                                                ,
         creditors, any other party in interest, their respective attorneys, and accountants, the
         United States trustee, or any person employed in the office of the United States trustee, is
         as follows:
                            None
                            Describe connection:

         6.       To the best of my knowledge, after reasonable and diligent investigation, the
         connection of my firm, its members, shareholders, partners, associates, officers and/or
         employees with the Debtor, creditors, any other party in interest, their respective
         attorneys and accountants, the United States trustee, or any person employed in the office
         of the United States trustee, is as follows:
                            None
                            Describe connection:




OMC\4830-8418-2516.v1-8/10/21                       2
     Case 21-16520              Doc 3-1 Filed 08/15/21 Entered 08/15/21 19:33:45                 Desc
                                 Certification of Professional Page 3 of 4



         7.       To the best of my knowledge, my firm, its members, shareholders, partners,
         associates, officers, and/or employees and I (check all that apply):
                            do not hold an adverse interest to the estate.
                            do not represent an adverse interest to the estate.
                            are disinterested under 11 U.S.C. § 101(14).
                            do not represent or hold any interest adverse to the Debtor or the estate
                            with respect to the matter for which I will be retained under 11 U.S.C. §
                            327(e).
                            Other. Explain:


         8.       If the professional is an auctioneer,
                  The following are my qualification and experience with the liquidation or sale of
                  similar property:
                  __________________________________________________________________
                  b.        The proposed method of calculation of my compensation, including rates
                  and formulas, is:
                  __________________________________________________________________
                  Pursuant to D.N.J. 2014-2, I        do or     do not request a waiver of the
                  requirements of D.N.J. LBR 2016-1.
                  c.        The following is an estimate of all costs and expenses, including labor,
                  security advertising, delivery, mailing, and insurance, for which I will seek
                  reimbursement from the sale proceeds:
                   _________________________________________________________________
                  d.        Have you or a principal of your firm, been convicted of a criminal
                  offense?
                                 No             Yes (explain below)
                  _________________________________________________________________
                  e.        I certify that a surety bond as described in D.N.J. LBR 2014-2(a)(6) is in
                  effect and will remain so through the turnover of the auction proceeds.




OMC\4830-8418-2516.v1-8/10/21                         3
     Case 21-16520              Doc 3-1 Filed 08/15/21 Entered 08/15/21 19:33:45                 Desc
                                 Certification of Professional Page 4 of 4



         9.       If the professional is an auctioneer, appraiser or realtor, the location and
                  description of the property is as follows:




         I certify under penalty of perjury that the above information is true.


Date:8/12/2021
                                          Lorie Beers
                                          Managing Director and Head
                                          Special Situations & Restructuring




OMC\4830-8418-2516.v1-8/10/21                        4
